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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Plaintiff, . —
-against-
18 Crim. 509-18 (GBD)
GOCHA PAPOSHVILI,

Defendant.

GEORGE B. DANIELS, United States District Judge:

The December 3, 2020 conference is adjourned to January 7, 2021 at 10:00 a.m.

Dated: New York, New York
November 9, 2020
SO ORDERED.

GER B. DANIELS
nited Sfates District Judge

 

 
